4:13-cr-03130-JMG-CRZ    Doc # 287   Filed: 06/03/14   Page 1 of 3 - Page ID # 1223




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                            4:13-CR-3130

vs.                                             AMENDED ORDER ON
                                               SENTENCING SCHEDULE
DAGOBERTO CASTILLO LUJAN,

                  Defendant.



       This matter is before the Court on the defendant's motion to extend
(filing 284). The defendant has requested additional time to file any potential
objections to the presentence report or motions for departure or variance. The
parties have agreed to continue sentencing to allow extra time for briefing.
For good cause shown, the defendant's motion is granted. Accordingly,

     IT IS ORDERED that the defendant's motion to extend (filing 284) is
granted.

      IT IS FURTHER ORDERED that the following amended deadlines and
procedures are set in this case:

1.    June 13, 2014:
      (a)  Any proposals to the probation office for community service,
           community confinement, intermittent confinement, or home
           detention;
      (b)  Motions to the Court:
           (1)    for departure under the guidelines (including, but not
                  limited to, motions by the government); and
           (2)    for deviation or variance from the guidelines as allowed by
                  the Supreme Court's decision in United States v. Booker,
                  543 U.S. 220 (2005), or its progeny;
      (c)  Objections by counsel to the PSR. Counsel shall file and serve on
           all other parties and the Probation Officer a written statement of
           position respecting each of the objections to the PSR, including
           the specific nature of each objection to the PSR.
4:13-cr-03130-JMG-CRZ    Doc # 287   Filed: 06/03/14   Page 2 of 3 - Page ID # 1224




      (d)   If evidence is to be offered in support of or in opposition to a
            motion under subparagraph (b) of this paragraph or in support of
            or in opposition to an objection under subparagraph (c) of this
            paragraph 1, it must be: by affidavit, letter, report, or other
            document attached to the statement of position or by oral
            testimony at the sentencing hearing. If oral testimony is desired,
            a request must be made in the statement of position and the
            statement of position must reveal (1) the nature of the expected
            testimony; (2) the necessity for oral testimony, instead of
            documentary evidence, such as affidavits; (3) the identity of each
            proposed witness; and (4) the length of time anticipated for
            presentation of the direct examination of the witness or
            witnesses. If a request for oral or documentary evidence is made
            by one party but not by the adverse party, the adverse party
            within 1 working day thereafter may make a responsive request
            for oral or documentary evidence, setting out details in the same
            manner as required by this paragraph 1(d).
      (e)   Objections should be supported by a brief if a substantial issue of
            law is raised. Motions for departure should be supported by a
            brief that explains why the departure from the guideline
            sentencing range is justified by normal guideline departure
            theory. Motions for deviation or variance from the guidelines as
            allowed under Booker or its progeny should be supported by a
            brief that explains why a sentence other than that called for
            under the guidelines is justified by a principle of law that is
            different in kind or degree from the normal principles of law
            applied under a strict application of the guidelines.
      (f)   It is expected that no consideration will be given to any
            sentencing factor first raised after the filing of the written
            statement.

2.    June 23, 2014: Judge's notice to counsel of rulings, tentative findings,
      whether oral testimony is to be permitted, and how objections to
      tentative findings may be made; and

3.    The following procedures shall apply to objections to tentative findings:

      (a)   A written objection to tentative findings is not required if no
            evidence will be offered in support of the objection to tentative
            findings and no new substantial issue of law will be raised in
            support of an objection to tentative findings. In such a case, an


                                     -2-
4:13-cr-03130-JMG-CRZ    Doc # 287   Filed: 06/03/14   Page 3 of 3 - Page ID # 1225




            oral objection to the tentative findings may be made at the time
            of sentencing.
      (b)   A written objection to tentative findings is required if evidence
            will be offered in support of the objection to the tentative findings
            or if a new substantial issue of law is raised in support of the
            objection to the tentative findings. If evidence will be offered in
            support of the written objection to the tentative findings, the
            written objection shall include a statement describing why an
            evidentiary hearing is required, what evidence will be presented,
            and how long such a hearing would take. If a new substantial
            issue of law is raised in support of the written objection to
            tentative findings, such an objection shall be supported by a brief.
            Unless the Court orders otherwise, a written objection to the
            tentative findings will be resolved at sentencing in such manner
            as the Court deems appropriate.
      (c)   Any written objection to tentative findings shall be filed no later
            than 5 business days prior to the date set for sentencing. If that
            is not possible due to the lack of time between the issuance of
            tentative findings and the sentencing hearing, the written
            objection shall be filed as soon as possible but not later than 1
            business day prior to sentencing.

4.    July 10, 2014 at 1:00 p.m.: Sentencing before Judge Gerrard in
      Lincoln, Courtroom #1.

A probation officer must submit a sentencing recommendation to the
sentencing judge no later than July 2, 2014. The probation officer is directed
to provide copies of any sentencing recommendation to counsel for the
government and counsel for the defendant at the time the recommendation is
submitted to the sentencing judge.

      Dated this 3rd day of June, 2014.

                                            BY THE COURT:




                                            John M. Gerrard
                                            United States District Judge




                                      -3-
